             Case 1:06-cr-00313-DAD Document 455 Filed 10/23/12 Page 1 of 2


P R O B 35           ORDER TERMINATING SUPERVISED RELEASE
                           PRIOR TO EXPIRATION DATE


                           UNITED STATES DISTRICT COURT
                                     FOR THE
                          EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA                          )
                                                  )
                            vs.                   )        Docket Number: 1:06CR00313-014 LJO
                                                  )
THEARITH PRAK                                     )
                                                  )


On February 27, 2009, the aforementioned was sentenced to 27 months Bureau of Prisons,
and 60 months supervised release. The offender has complied with the rules and regulations
of supervision. On October 16, 2012, Assistant United States Attorney, Kathleen Servatius,
submitted written documentation to the United States Probation Office, advising that there is
no objection to an early termination of supervision in this case. It is accordingly
recommended that the offender be discharged from supervision.

                                    Respectfully submitted,

                                       /s/ Adrian Garcia

                                    ADRIAN GARCIA
                              United States Probation Officer

Dated:         October 17, 2012
               Fresno, California
               AG/rv



REVIEWED BY:         /s/ Robert Ramirez
                     ROBERT RAMIREZ
                     Supervising United States Probation Officer




                                                                                                            R ev. 05/2006
                                                                E A R LY T E R M IN A TIO N ~ O R D E R (P R O B 35).M R G
            Case 1:06-cr-00313-DAD Document 455 Filed 10/23/12 Page 2 of 2


Re:      PRAK, Thearith
         Docket Number: 1:06CR00313-14 LJO
         ORDER TERMINATING PROBATION
         PRIOR TO EXPIRATION DATE




                                   ORDER OF COURT


The offender, Thearith Prak, is discharged from supervised release, and the proceedings in
the case are terminated.



Attachment: Recommendation
cc:    United States Attorney's Office
       FLU Unit, AUSA's Office
       Fiscal Clerk, Clerk's Office
IT IS SO ORDERED.

Dated:     October 22, 2012                  /s/ Lawrence J. O'Neill
b9ed48                                   UNITED STATES DISTRICT JUDGE




                                                                                                        R ev. 05/2006
                                                            E A R LY T E R M IN A TIO N ~ O R D E R (P R O B 35).M R G
